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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MARCO ORFEO FRANZ BUSONI,

      Plaintiff,                                        Case No.: 1:24-cv-00879

v.                                                      FILED UNDER SEAL

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

      Defendants.

                             SCHEDULE A TO COMPLAINT

                    No.                   Defendants
                    1     卞良锋

                     2    广东瑞器电商部
                     3    WUKONGSurprise
                     4    zhengjinhuai666
                     5    GaoZhiXiangGHFGKJHKGJH
                     6    huanlixinwangluokeji
                     7    wuhushijinghuquxingmodianzishangwugongzuoshi
                     8    hefeisongkuashangmao
                     9    GaoGuYouXianGongSi
                    10    Kevin De Store
                    11    Barnett Art
                    12    1stPOSTER
                    13    kuodadianzishanghang
                    14    Reyor Shade
                    15    zhangmengdoshanyouxiangongsi
                    16    Amrico Nilzia
                    17    KunMingTiaoKanWangLuoKeJiYouXianGongSi
                    18    kunmingniexiexinxikejiyouxiangongsi
                    19    zhufenrenshangmao
                    20    TATUNGST
                    21    QiongZhongXiangZhiKeJiYouXianGongSi
                    22    HanabiiStore
                    23    yangyishuyi



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             24   蔡俊松
             25   Huifang Art Decoration Store
             26   Wen Wen department store decoration poster shop
             27   xinxiangfeimengshangmaoyouxiangongsi
             28   HeNanShengJinFaYiLiaoQiXieYouXianGongSi
             29   youmaou
             30   henanhuangangwangluokejiyouxiangongsi
             31   feilong wadaxi
                  Lingchuan County Mingwei Advertising Service
             32   Depar
             33   artsselling
             34   GoldenAppleArt
             35   crafts2018
             36   huangjinghuihuahaibao
             37   BQBQOER
             38   yishuicheng
             39   chenleigongyipin
             40   baofengxiannitujiajuyongpinxiaoshoudian
             41   chenzhijiandegongyipinshangdioan
             42   oudiwei
             43   Life decoration
             44   Dulles decoration
             45   xiao mimi
             46   new auto parts
             47   xinuo-story
             48   thi_3183




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